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 Sean C. Wagner (Pro Hac Vice)
 Derek M. Bast (Pro Hac Vice)
 WAGNER HICKS PLLC
 831 East Morehead Street, Suite 860
 Charlotte, North Carolina 28202
 Tel: (704) 705-7538
 Fax: (704) 705-7787
 John Forest Hilbert, Esq. (SBN 105827)
 Joseph A. LeVota, Esq. (SBN 226760)
 HILBERT & SATTERLY LLP
 409 Camino del Rio S. #104
 San Diego, California 92108
 Telephone: (619) 795-0300
 Facsimile: (619) 501-6855
Counsel for Plaintiff
GOLDWATER BANK, N.A.

                       UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

 GOLDWATER BANK, N.A.,                      Case No. 5:21-cv-00616-JWH-SPx
                    Plaintiff,
                                            PLAINTIFF GOLDWATER BANK,
        v.                                  N.A.’S RESPONSES TO ARTUR
                                            ELIZAROV’S FIRST SET OF
 ARTUR ELIZAROV, ET AL.                     REQUESTS FOR ADMISSION
                    Defendants.




 PROPOUNDING PARTY:              Defendant Artur Elizarov
 ANSWERING PARTY:                Plaintiff Goldwater Bank, N.A.
 SET NO.:                        One
       NOW COMES Plaintiff Goldwater Bank, N.A. (“Goldwater”), by and through
 counsel, and responds to Defendant Artur Elizarov’s (“Elizarov”) First Set of Requests
 for Admissions (the “RFAs”) as follows:
                           PRELIMINARY STATEMENT




                                                                    Exhibit Z - 1
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       All responses and objections contained herein are based upon such information as
 is presently available and specifically known to Goldwater. These responses are given
 without prejudice to Goldwater’s right to produce evidence of any subsequently-
 discovered facts, including any and all subsequently-discovered information.
 Accordingly, Goldwater specifically reserves the right to change any and all responses
 contained herein as the result of further investigation, research, and discovery become
 known. The responses made herein reflect Goldwater’s good faith efforts to respond as
 completely as possible based on the information that is currently available, and shall not
 be used to prejudice Goldwater’s right to investigate and rely upon such other information
 as it is ascertained as a result of such further investigation or discovery.
       Goldwater reserves the right to use at trial and make reference to any evidence,
 facts, documents, or information not discovered at this time, omitted through good faith
 error, mistake, or oversight, or the relevance of which has not presently been identified
 by Brown. Brown also reserves the right to further modify these responses as a result of
 subsequently discovered information.
                     RESPONSES TO REQUESTS FOR ADMISSION
       1.       At   the   time   GOLDWATER          approved     LOAN      APPLICATION,
 GOLDWATER knew that ELIZAROV was a plaintiff in CIVIL ACTION.
       ANSWER: Denied. Goldwater relied on Elizarov’s acknowledgement in the
 loan application that the information he provided was true and correct and that
 Goldwater was entitled to rely on the information provided by Elizarov in the
 application.
       2.       Before GOLDWATER approved LOAN APPLICATION, GOLDWATER
 had searched for any lawsuits that involved ELIZAROV as a party.
       ANSWER: Denied. Goldwater relied on Elizarov’s acknowledgement in the
 loan application that the information he provided was true and correct and that
 Goldwater was entitled to rely on the information provided by Elizarov in the
 application.




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       3.     As matter of business practice, prior to the date GOLDWATER approved
 LOAN APPLICATION, GOLDWATER had routinely searched for any pending lawsuit
 that included mortgage applicants as parties.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s routine business practices are not at issue in this
 litigation, and the scope of this request is so broad that it cannot fairly be responded
 to under Rule 36 of the Federal Rules of Civil Procedure. Subject to and without
 waiving its objections, Goldwater denies this Request for Admission. Goldwater
 uses uniform loan applications issued by Fannie Mae and Freddie Mac, in which the
 applicant agrees and acknowledges that all information in the application is true
 and that the lender may rely on the information in the application.
       4.     GOLDWATER would have approved LOAN APPLICATION even if
 GOLDWATER had known that ELIZAROV was a plaintiff in CIVIL ACTION.
       ANSWER: Goldwater objects to this Request for Admission because it is an
 incomplete hypothetical that does not state enough facts for Goldwater to make a
 reasonable inquiry sufficient to enable it to admit or deny, in part because loan
 applications are approved or denied based on a number of factors.
       5.     Before GOLDWATER approved LOAN APPLICATION, GOLDWATER
had never denied an application for a mortgage loan because the applicant was a plaintiff
in a pending civil lawsuit.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
litigation and is not proportional to the needs of this case.
       6.     CIVIL ACTION was dismissed with prejudice on August 15, 2019.
       ANSWER: Goldwater admits that the Civil Action was dismissed on August
15, 2019. After making a reasonable review of the electronic docket of the Civil
Action, Goldwater lacks knowledge or information sufficient to admit or deny
whether or not the dismissal was with prejudice.




                                                                      Exhibit Z - 3
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         7.   At   the   time   ELIZAROV    submitted   LOAN     APPLICATION        to
 GOLDWATER, ELIZAROV was not in default of any federal debt.
         ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny whether or not Elizarov was in default, which is a legal conclusion, at the time
 of the loan application.       In answering this request, Goldwater conducted a
reasonable inquiry of the documents in its possession, custody, or control, but
information regarding the legal status of Elizarov’s tax debt would be in the
possession, custody, or control of Elizarov and the federal government. Goldwater
admits that at the time of the loan application, Elizarov was subject to a federal tax
lien, which was discharged after the date of the loan application on December 18,
2019.
         8.   At   the   time   ELIZAROV    submitted   LOAN     APPLICATION        to
GOLDWATER, ELIZAROV was current on ELIZAROV’s payment obligations to the
Internal Revenue Service.
         ANSWER: Goldwater lacks knowledge or information sufficient to admit or
deny the status of Elizarov’s payment obligations on his federal tax debt at the time
 of the loan application.       In answering this request, Goldwater conducted a
 reasonable inquiry of the documents in its possession, custody, or control, but
 information regarding the legal status of Elizarov’s tax debt would be in the
 possession, custody, or control of Elizarov and the federal government. Goldwater
 knows that at the time of the loan application, Elizarov was subject to a federal tax
 lien, which was discharged after the date of the loan application on December 18,
 2019.
         9.   The phrase “in default of any federal debt” as used in LOAN
 APPLICATION means that the mortgage applicant was not paying the periodic payments
 on the debt as the payments came due.
         ANSWER: Goldwater objects to this Request for Admission because it seeks
 a pure legal conclusion regarding the meaning of a contract phrase, which is not an




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 appropriate matter for inquiry pursuant to Fed. R. Civ. P. 36(a)(1). Subject to and
 without waiving its objections, Goldwater denies this request.
       10.    At    the   time   GOLDWATER        approved    LOAN      APPLICATION,
 GOLDWATER knew that ELIZAROV had a recorded lien in favor of the Internal
 Revenue Service.
       ANSWER: Denied. Elizarov did not report his federal tax lien in his
 mortgage application, and Goldwater did not learn of Elizarov’s federal tax debt
 until after this litigation began.
       11.    Before GOLDWATER approved LOAN APPLICATION, GOLDWATER
 had searched for any outstanding liens against ELIZAROV.
       ANSWER: It is admitted that Goldwater obtained a third-party credit report
in connection with Elizarov’s loan application, although such reports do not reflect
 federal tax liens as a matter of law.              Goldwater relied on Elizarov’s
 acknowledgement in the loan application that the information he provided was true
 and correct and that Goldwater was entitled to rely on the information provided by
 Elizarov in the application. Except as expressly admitted, Goldwater denies this
 request.
       12.    As matter of business practice, before GOLDWATER approved LOAN
 APPLICATION, GOLDWATER had routinely searched for any liens recorded against
 mortgage applicants.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s routine business practices are not at issue in this
 litigation, and the scope of this request is so broad that it cannot fairly be responded
 to under Rule 36 of the Federal Rules of Civil Procedure. Subject to and without
 waiving its objections, Goldwater admits that it regularly obtains third-party credit
 reports in connection with mortgage applications, although such reports do not
 reflect federal tax liens as a matter of law. Except as expressly admitted, Goldwater
 denies this request.




                                                                      Exhibit Z - 5
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       13.    The recording lien against ELIZAROV in favor of the Internal Revenue
 Service was evidence of an outstanding debt but not evidence of a default on any debt.
       ANSWER: Goldwater objects to this Request for Admission because it seeks
 a pure legal conclusion regarding the legal impact of a recorded lien, which is not
 an appropriate matter for inquiry pursuant to Fed. R. Civ. P. 36(a)(1).
       14.    A person who is current with a repayment plan approved by the Internal
 Revenue Service is not in default on a federal debt.
       ANSWER: Goldwater objects to this Request for Admission because it seeks
 a pure legal conclusion regarding the legal impact of an IRS repayment plan, which
 is not an appropriate matter for inquiry pursuant to Fed. R. Civ. P. 36(a)(1).
 Goldwater also objects to this request as an incomplete hypothetical that does not
 contain sufficient facts to allow Goldwater to admit or deny the request.
       15.    At    the   time   ELIZAROV      submitted   LOAN     APPLICATION       to
 GOLDWATER, ELIZAROV was current on a repayment plan approved by the Internal
 Revenue Service.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny the status of Elizarov’s payment obligations on his federal tax debt at the time
 of the loan application.        In answering this request, Goldwater conducted a
 reasonable inquiry of the documents in its possession, custody, or control, but
 information regarding Elizarov’s payment history on his tax debt would be in the
 possession, custody, or control of Elizarov and the federal government.
       16.    GOLDWATER would have approved LOAN APPLICATION even if
 GOLDWATER had known that ELIZAROV was paying down an outstanding text debt
 to the Internal Revenue Service.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound and as an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny, in
 part because loan applications are approved or denied based on a number of factors.




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       17.    GOLDWATER would have approved LOAN APPLICATION even if
 GOLDWATER had known that ELIZAROV had a recorded tax lien in favor of the
 Internal Revenue Service.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound and as an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny, in
 part because loan applications are approved or denied based on a number of factors.
       18.    At   the   time    GOLDWATER        approved       LOAN    APPLICATION,
 GOLDWATER had never denied an application for a mortgage loan because the
 applicant had a recorded federal tax lien.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
 litigation and is not proportional to the needs of this case.
       19.    At   the   time    GOLDWATER        approved       LOAN    APPLICATION,
 GOLDWATER had never denied an application for a mortgage loan because the
 applicant was paying down an outstanding tax debt to the Internal Revenue Service.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
 litigation and is not proportional to the needs of this case.
       20.    GOLDWATER would have approved LOAN APPLICATION even if
 GOLDWATER had known that ELIZAROV was not single but had a registered domestic
 partner.
       ANSWER: Goldwater objects to this Request for Admission because it is an
 incomplete hypothetical that does not state enough facts for Goldwater to make a
 reasonable inquiry sufficient to enable it to admit or deny, in part because loan
 applications are approved or denied based on a number of factors.




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       21.     GOLDWATER would not have denied LOAN APPLICATION based
 solely on ELIZAROV’s marital status.
       ANSWER: Goldwater objects to this Request for Admission because it is an
 incomplete hypothetical that does not state enough facts for Goldwater to make a
 reasonable inquiry sufficient to enable it to admit or deny, in part because loan
 applications are approved or denied based on a number of factors.
       22.     At   the   time   GOLDWATER        approved       LOAN    APPLICATION,
 GOLDWATER had never denied an application for a mortgage loan based on the
 applicant’s marital status.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
 litigation and is not proportional to the needs of this case.
       23.     At   the   time   GOLDWATER        approved       LOAN    APPLICATION,
 GOLDWATER had never denied a married applicant’s mortgage application solely
 because the married applicant did not rely on or disclose the spouse’s financial
 information in the loan application.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
 litigation and is not proportional to the needs of this case. Goldwater further objects
 to this request as impermissibly compound.
       24.    Had GOLDWATER known, at the time GOLDWATER approved LOAN
APPLICATION, that ELIZAROV had a registered domestic partner in California,
GOLDWATER would still have approved LOAN APPLICATION based solely on
ELIZAROV’s personal information.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
compound and as incomplete hypothetical that does not state enough facts for
Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny, in
part because loan applications are approved or denied based on a number of factors.




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      25.    Had GOLDWATER known, at the time GOLDWATER approved LOAN
 APPLICATION, that ELIZAROV had a registered domestic partner in California,
 GOLDWATER would not have required ELIZAROV’s registered domestic partner’s
 personal information to approve LOAN APPLICATION.
      ANSWER: Goldwater objects to this Request for Admission as impermissibly
compound and as incomplete hypothetical that does not state enough facts for
Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
      26.    At   the     time   GOLDWATER       approved    LOAN     APPLICATION,
GOLDWATER had not, as matter of business practice, require married applicants to
provide both spouses’ financial information in the mortgage-loan application.
      ANSWER: Goldwater objects to this Request for Admission as irrelevant and
overbroad, as Goldwater’s entire history of mortgage lending is not at issue in this
litigation and is not proportional to the needs of this case. Goldwater further objects
to this request as impermissibly compound.
       27.   GOLDWATER did not consider ALEKSEYEFF’s personal or financial
information when GOLDWATER approved LOAN APPLICATION.
      ANSWER:           It is admitted that Goldwater considered the information
provided by Elizarov on the loan application and that such information appears not
to include Alekseyeff’s information. Except as expressly admitted, denied.
      28.    GOLDWATER approved LOAN APPLICATION based solely on
ELIZAROV’s personal information.
      ANSWER: It is admitted that Goldwater relied on the information provided
by Elizarov in his loan application, as well as a third-party credit report and other
materials related to the transaction. Except as expressly admitted, denied.
      29.    At   the    time    ELIZAROV    submitted   LOAN     APPLICATION        to
GOLDWATER, ELIZAROV intended to pay the resulting loan.
      ANSWER: Goldwater lacks knowledge or information sufficient to admit or
deny this Request for Admission. Goldwater has conducted a reasonable inquiry of




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 the materials in its possession, custody, or control related to Elizarov’s loan
 application, but the information revealing Elizarov’s intent will ultimately depend
 on information obtained from Elizarov and others in discovery.
       30.   Had ELIZAROV paid GOLDWATER $675,000.00 at the time ELIZAROV
 sold PALM SPRINGS HOUSE to defendant Scott Howlett, GOLDWATER would not
 have alleged any claims of fraud against ELIZAROV based on any allegedly false
 statements that ELIZAROV included in LOAN APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       31.   Had ELIZAROV paid GOLDWATER $675,000.00 at the time ELIZAROV
 sold PALM SPRINGS HOUSE to defendant Scott Howlett, GOLDWATER would not
 have sought any damages from ELIZAROV based on any allegedly false statements that
 ELIZAROV included in LOAN APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       32.   Had ELIZAROV paid GOLDWATER the outstanding balance under NOTE
 at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett,
 GOLDWATER would not have alleged any claims of fraud against ELIZAROV based
 on any false statements that ELIZAROV included in LOAN APPLICATION.




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       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       33.   Had ELIZAROV paid GOLDWATER the outstanding balance under NOTE
 at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett,
 GOLDWATER would not have sought any damages based on any allegedly false
 statements that ELIZAROV included in LOAN APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       34.   GOLDWATER suffered no damages as a direct result of GOLDWATER’s
 reliance on any allegedly false statements that ELIZAROV made in LOAN
 APPLICATION.
       ANSWER: Denied. Elizarov obtained a loan from Goldwater in the principal
 amount of $686,250.00 in part by making false statements on his loan application.
       35. None of the allegedly false statements that ELIZAROV included in LOAN
 APPLICATION substantially caused GOLDWATER’s damages.
       ANSWER: Denied. Elizarov obtained a loan from Goldwater in the principal
 amount of $686,250.00 in part by making false statements on his loan application.
       36.   As of May 27, 2021, GOLDWATER had no information that lead
 GOLDWATER to believe that ELIZAROV misrepresented his income in
 FORBEARANCE APPLICATION.




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       ANSWER: Denied. As of May 27, 2021, Goldwater had sufficient evidence
 of misrepresentations in the forbearance application that caused Goldwater to
 believe that Elizarov may have misrepresented his income in the forbearance
 application.
       37.      As of May 27, 2021, GOLDWATER had no information that lead
 GOLDWATER          to   believe   that   ELIZAROV     misrepresented    his   assets   in
 FORBEARANCE APPLICATION.
       ANSWER: Denied. As of May 27, 2021, Goldwater had sufficient evidence
 of misrepresentations in the forbearance application that caused Goldwater to
 believe that Elizarov may have misrepresented his assets in the forbearance
 application.
       38. GOLDWATER would have approved FORBEARANCE APPLICATION
 regardless of ELIZAROV’s income.
       ANSWER: Goldwater objects to this Request for Admission because it is an
 incomplete hypothetical that does not state enough facts for Goldwater to make a
 reasonable inquiry sufficient to enable it to admit or deny, in part because
 forbearance applications are approved or denied based on a number of factors.
       39.      GOLDWATER would have approved FORBEARANCE APPLICATION
 regardless of ELIZAROV’s assets.
       ANSWER: Goldwater objects to this Request for Admission because it is an
 incomplete hypothetical that does not state enough facts for Goldwater to make a
 reasonable inquiry sufficient to enable it to admit or deny, in part because
 forbearance applications are approved or denied based on a number of factors.
       40.      As of April 1, 2021, all of GOLDWATER’s outstanding residential
 mortgage loans in California were in forbearance due to the pandemic caused by the novel
 coronavirus COVID-19.
       ANSWER: Goldwater objects to this Request for Admission as overbroad
 and irrelevant because the universe of all of Goldwater’s mortgage loans in




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 California is not relevant to the claims or defenses in this litigation. Subject to and
 without waiving his objections, Goldwater denies this Request for Admission, as not
 every single borrower applied for forbearance due to COVID-19.
       41.   At the time GOLDWATER approved FORBEARANCE APPLICATION,
 GOLDWATER had no written standards for evaluating borrowers’ applications for
 forbearance due to the COVID-19 pandemic.
       ANSWER: Denied.
       42.   Under the emergency measures enacted in California in response to the
 global pandemic caused by the COVID-19 virus, between April 2020 and March 2021,
 GOLDWATER could not foreclose on PALM SPRINGS HOUSE after ELIZAROV
 stopped making his regular mortgage payments in April 2020.
       ANSWER: Goldwater objects to this Request for Admission as unduly vague,
 as it does not specify or define the “emergency measures” that underly the request.
 Goldwater further objects to this request as improperly compound. Subject to and
 without waiving its objections, Goldwater denies that Elizarov was making his
 regular mortgage payments through April 2020, as Elizarov was already behind on
 his payments in February 2020, prior to the widespread impact of COVID-19 in the
 United States. Goldwater further denies that there was no set of facts under which
 it could have moved forward with foreclosure. The remaining allegations of this
 request are denied.
       43.   Under the emergency measures enacted in California in response to the
 global pandemic caused by the COVID-19 virus, between April 2020 and March 2021,
 ELIZAROV’s statutory right to redemption under California Law was extended until the
 declaration of emergency was rescinded after ELIZAROV stopped paying the regular
 monthly payments called for in NOTE as of April 2020.
       ANSWER: Goldwater objects to this Request for Admission as unduly vague,
 as it does not specify or define the “emergency measures” that underly the request.
 Goldwater further objects to this request as improperly compound. Subject to and




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 without waiving its objections, Goldwater denies that Elizarov was making his
 regular mortgage payments through April 2020, as Elizarov was already behind on
 his payments in February 2020, prior to the widespread impact of COVID-19 in the
 United States. The remaining allegations of this request are denied.
       44.   Since April 1, 2020, GOLDWATER had borrowers other than ELIZAROV
 who stopped making payments on loans secured by residential property in California due
 to the worldwide pandemic caused by COVID-19 virus.
       ANSWER: Goldwater objects to this Request for Admission as overbroad
 and irrelevant because the universe of all of Goldwater’s mortgage loans in
 California is not relevant to the claims or defenses in this litigation. Subject to and
 without waiving his objections, Goldwater admits that other residential borrowers
 in California missed mortgage payments due to the COVID-19 pandemic. Except
 as expressly admitted, denied.


       45.   Since April 1, 2020, GOLDWATER has not foreclosed on any residential
 property in California that secured a mortgage loan after the borrower stopped making
 the loan payments.
       ANSWER: Goldwater objects to this Request for Admission as overbroad
 and irrelevant because the universe of all of Goldwater’s mortgage loans in
 California is not relevant to the claims or defenses in this litigation.
       46.   The loss of the regularly scheduled interest and principal payments called
 for by NOTE was the only harm that GOLDWATER suffered as a direct result of
 GOLDWATER’s decision to approve FORBEARANCE APPLICATION.
       ANSWER: Denied. As a result of Elizarov’s forbearance status, Goldwater
 refrained from initiating foreclosure, which made it easier for Elizarov to sell the
 Palm Springs property and abscond with the proceeds that should have paid off
 Goldwater’s loan.




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       47.   After April 6, 2020, GOLDWATER would have lost the regularly scheduled
 interest and principal payments called for by NOTE even if GOLDWATER had denied
 FORBEARANCE APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and as incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
       48.   Had ELIZAROV paid GOLDWATER $675,000.00 at the time ELIZAROV
 sold PALM SPRINGS HOUSE to defendant Scott Howlett, GOLDWATER would not
 have alleged any claims of fraud against ELIZAROV based on any allegedly false
 statements that ELIZAROV included in FORBEARANCE APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       49.   Had ELIZAROV paid GOLDWATER $675,000.00 at the time ELIZAROV
 sold PALM SPRINGS HOUSE to defendant Scott Howlett, GOLDWATER would not
 have sought any damages from ELIZAROV based on any allegedly false statements that
 ELIZAROV include in FORBEARANCE APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       50.   Had ELIZAROV paid GOLDWATER the outstanding balance under NOTE
 at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett,




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 GOLDWATER would not have alleged any claims of fraud against ELIZAROV based
 on any allegedly false statements that ELIZAROV included in FORBEARANCE
 APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       51.   Had ELIZAROV paid GOLDWATER the outstanding balance under NOTE
 at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett,
 GOLDWATER would not have sought any damages from ELIZAROV based on any
 allegedly   false   statements   that   ELIZAROV    include   in    FORBEARANCE
 APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny.
 Goldwater further objects to the speculation of how the pleadings in this case may
 have differed under different circumstances as irrelevant and outside the scope of
 Fed. R. Civ. P. 26 and 36.
       52.   GOLDWATER suffered no damages as a direct result of GOLDWATER’s
 reliance on any allegedly false statements in FORBEARANCE APPLICATION.
       ANSWER: Denied. As a result of Elizarov’s forbearance status, Goldwater
 refrained from initiating foreclosure, which made it easier for Elizarov to sell the
 Palm Springs property and abscond with the proceeds that should have paid off
 Goldwater’s loan.
       53.   At the time GOLDWATER agreed to accept $675,000 from ELIZAROV
 following the sale of PALM SPRINGS HOUSE to defendant Scott Howlett,




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 GOLDWATER claimed that ELIZAROV owed GOLDWATER a greater amount under
 NOTE.
       ANSWER: Goldwater admits that the total balance due under the Note at the
 time of the sale of the Palm Springs House was in excess of $675,000. Goldwater
 further admits that it engaged in discussions with Elizarov to potentially accept a
 payment of $675,000 in reliance on Elizarov’s misrepresentations to Goldwater that
 there would be insufficient proceeds from the sale on account of a superior
 mechanic’s lien in the amount of approximately $107,000. Except as expressly
 admitted, denied.
       54.     GOLDWATER’s offer to accept $675,000 from ELIZAROV to extinguish
 a pre-existing debt of a greater amount under NOTE lacked consideration.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Goldwater admits that it engaged in discussions with Elizarov to
 potentially    accept   a   payment   of   $675,000   in   reliance   on   Elizarov’s
 misrepresentations to Goldwater that there would be insufficient proceeds from the
 sale on account of a superior mechanic’s lien in the amount of approximately
 $107,000. However, Goldwater denies that the discussions progressed to the stage
 where it was an offer to extinguish pre-existing debt and denies that it was required
 to be supported by consideration. Except as expressly admitted, denied.
       55.     GOLDWATER received no benefit in exchange for its offer to accept
 $675,000 from ELIZAROV to extinguish the pre-existing debt of a greater amount under
 NOTE.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Goldwater admits that it engaged in discussions with Elizarov to
 potentially    accept   a   payment   of   $675,000   in   reliance   on   Elizarov’s
 misrepresentations to Goldwater that there would be insufficient proceeds from the
 sale on account of a superior mechanic’s lien in the amount of approximately
 $107,000. However, Goldwater denies that the discussions progressed to the stage




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 where it was an offer to extinguish pre-existing debt and denies that it was required
 to be supported by a benefit in exchange. Except as expressly admitted, denied.
       56.     ELIZAROV suffered no detriment from his offer to pay GOLDWATER
 $675,000 to extinguish the pre-existing debt of a greater amount under NOTE.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Goldwater admits that it engaged in discussions with Elizarov to
 potentially    accept   a   payment   of    $675,000   in   reliance   on   Elizarov’s
 misrepresentations to Goldwater that there would be insufficient proceeds from the
 sale on account of a superior mechanic’s lien in the amount of approximately
 $107,000. However, Goldwater denies that the discussions progressed to the stage
 where it was an offer to extinguish pre-existing debt. Goldwater lacks knowledge
 or information sufficient to admit or deny whether Elizarov suffered any detriment.
 Except as expressly stated above, denied.
       57.     After March 25, 2021, GOLDWATER could not have done anything to
 interfere with ELIZAROV’s sale of PALM SPRINGS HOUSE to defendant Scott
 Howlett.
       ANSWER: Goldwater objects to this Request for Admission as vague because
 the scope of conduct that would amount to “interference” is not clear. Goldwater
 further objects to this Request for Admission because it is an incomplete
 hypothetical that does not state enough facts for Goldwater to make a reasonable
 inquiry sufficient to enable it to admit or deny.
       58.     On and after February 1, 2021, GOLDWATER did not have DEED OF
 TRUST bearing ELIZAROV’s original notarized signature.
       ANSWER: Denied. During the course of this litigation, Goldwater located
 the Deed of Trust bearing Elizarov’s original notarized signature in the files of its
 mortgage servicer, and Goldwater believes it was there as of February 1, 2021.
       59.     On and after February 1, 2021, GOLDWATER could not have recorded
 DEED OF TRUST with Riverside County Clerk/Recorder.




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       ANSWER: Denied. During the course of this litigation, Goldwater located
 the Deed of Trust bearing Elizarov’s original notarized signature in the files of its
 mortgage servicer, and Goldwater believes it was there as of February 1, 2021.
       60.   GOLDWATER         refused   to   sign   a   written   document   evidencing
 GOLDWATER’s agreement to accept $675,000 from ELIZAROV to extinguish the pre-
 existing debt of a greater amount under NOTE.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater denies this
 Request for Admission.
       61. ELIZAROV did not agree in writing to pay GOLDWATER $675,000 from the
 sale of PALM SPRINGS HOUSE.
       ANSWER: Admitted.
       62. GOLDWATER did not agree in writing to accept $675,000 from ELIZAROV
 to extinguish the pre-existing debt of a greater amount under NOTE.
       ANSWER: Admitted.
       63. At the time ELIZAROV offered to pay GOLDWATER $675,000 from the sale
 of PALM SPRINGS HOUSE, ELIZAROV had a pre-existing duty to pay
 GOLDWATER a greater amount under NOTE.
       ANSWER: Admitted.
       64. GOLDWATER did nothing in reliance on any allegedly false statements that
 ELIZAROV made to GOLDWATER during SETTLEMENT DISCUSSIONS.
       ANSWER: Denied.
       65. GOLDWATER suffered no damages as a direct result of GOLDWATER’s
 reliance on any allegedly false statements that ELIZAROV made to GOLDWATER
 during SETTLEMENT DISCUSSIONS.
       ANSWER: Denied.
       66. Since July 24, 2013, every deed of trust that GOLDWATER’s executed with
 California residential borrowers included the following language: “If all or any part of




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 the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
 natural person and a beneficial interest in Borrower is sold or transferred) without
 Lender's prior written consent, Lender may require immediate payment in full of all sums
 secured by this Security Instrument. However, this option shall not be exercised by
 Lender if such exercise is prohibited by Applicable Law. If Lender exercises this option,
 Lender shall give Borrower notice of acceleration. The notice shall provide a period of
 not less than 30 days from the date the notice is given in accordance with Section 15
 within which Borrower must pay all sums secured by this Security Instrument. If
 Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke
 any remedies permitted by this Security Instrument without further notice or demand on
 Borrower.”
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s routine business practices are not at issue in this
 litigation, and the scope of this request is so broad that it cannot fairly be responded
 to under Rule 36 of the Federal Rules of Civil Procedure.
       67. Since July 24, 2013, every note relating to a residential mortgage loan included
 the following language: “If all or any part of the Property or any Interest in the Property
 is sold or transferred (or if Borrower is not a natural person and a beneficial interest in
 Borrower is sold or transferred) without Lender's prior written consent, Lender may
 require immediate payment in full of all sums secured by this Security Instrument. If
 Lender exercises the option to require immediate payment in full, Lender shall give
 Borrower notice of acceleration. The notice shall provide a period of not less than 30 days
 from the date the notice is given in accordance with Section 15 within which Borrower
 must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums
 prior to the expiration of this period, Lender may invoke any remedies permitted by this
 Security Instrument without further notice or demand on Borrower.”
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as it does not reference Goldwater. Goldwater further objects to this




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 request as irrelevant and overbroad because Goldwater’s routine business practices
 are not at issue in this litigation, and the scope of this request is so broad that it
 cannot fairly be responded to under Rule 36 of the Federal Rules of Civil Procedure.
       68. Since July 24, 2013, GOLDWATER has never given any GOLDWATER’s
 mortgagee in California a notice of acceleration required under the mortgagee’s deed of
 trust before GOLDWATER demanded that the borrower repay GOLDWATER the
 outstanding loan balance at the time the borrower sold the property that secured
 GOLDWATER’s mortgage loan.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s routine business practices are not at issue in this
 litigation, and the scope of this request is so broad that it cannot fairly be responded
 to under Rule 36 of the Federal Rules of Civil Procedure. Goldwater further objects
 to this request as improperly compound.
       69. Since July 24, 2013, GOLDWATER has never given any GOLDWATER’s
 mortgagee in California a notice of acceleration required under the mortgagee’s note
 before GOLDWATER demanded that the borrower repay GOLDWATER the
 outstanding loan balance at the time the borrower sold the property that secured
 GOLDWATER’s mortgage loan.
       ANSWER: Goldwater objects to this Request for Admission as irrelevant and
 overbroad, as Goldwater’s routine business practices are not at issue in this
 litigation, and the scope of this request is so broad that it cannot fairly be responded
 to under Rule 36 of the Federal Rules of Civil Procedure. Goldwater further objects
 to this request as improperly compound.
       70. Had GOLDWATER recorded DEED OF TRUST with the Riverside County
 Clerk/Recorded, GOLDWATER would have insisted that ELIZAROV repay, at the time
 ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett, the outstanding
 loan balance secured by DEED OF TRUST even though GOLDWATER had never given
 ELIZAROV a notice of acceleration required under paragraph 18 of DEED OF TRUST.




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       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical.
       71. Had GOLDWATER recorded DEED OF TRUST with the Riverside County
 Clerk/Recorded, GOLDWATER would have insisted that ELIZAROV repay, at the time
 ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott Howlett, the outstanding
 loan balance secured by DEED OF TRUST even though GOLDWATER had never given
 ELIZAROV a notice of acceleration required under Paragraph 11 of NOTE.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical.
       72. Had GOLDWATER recorded DEED OF TRUST with the Riverside County
 Clerk/Recorded, GOLDWATER would have refused to record a reconveyance of DEED
 OF TRUST at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott
 Howlett unless ELIZAROV repaid GOLDWATER the outstanding loan balance secured
 by DEED OF TRUST even though GOLDWATER had never given ELIZAROV the
 notice of acceleration required under paragraph 18 of DEED OF TRUST.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical.
       73. Had GOLDWATER recorded DEED OF TRUST with the Riverside County
 Clerk/Recorded, GOLDWATER would have refused to record a reconveyance of DEED
 OF TRUST at the time ELIZAROV sold PALM SPRINGS HOUSE to defendant Scott
 Howlett unless ELIZAROV repaid GOLDWATER the outstanding loan balance secured
 by DEED OF TRUST even though GOLDWATER had never given ELIZAROV the
 notice of acceleration required under Paragraph 11 of NOTE.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound and an incomplete hypothetical.
       74. ELIZAROV informed GOLDWATER that ELIZAROV had listed PALM
 SPRINGS HOUSE for sale on February 2, 2021.




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       ANSWER: Goldwater admits that Elizarov communicated with Goldwater
 loan officer Gregory Hill in early February 2021 about his intention to sell the Palm
 Springs house. Except as expressly admitted, denied.
       75. ELIZAROV sent a copy of the Residential Purchase Agreement that
 ELIZAROV signed with Scott Howlett to GOLDWATER on March 3, 2021.
       ANSWER: Goldwater objects to this Request for Admission because it
 references a specific document that has not been defined or produced by Elizarov.
 Subject to and without waiving its objections, Goldwater states that it presently
 lacks knowledge or information sufficient to admit or deny this Request for
 Admission.
       76. ELIZAROV discovered that GOLDWATER had not recorded DEED OF
 TRUST with the Riverside County Clerk/Recorded on March 25, 2021.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding the precise date when Elizarov discovered that the Deed of Trust was
 unrecorded ultimately resides with Elizarov and other third parties.
       77. Prior to April 1, 2021, GOLDWATER had not given ELIZAROV the notice of
 acceleration required under Paragraph 18 of DEED OF TRUST. f
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater admits that
 Goldwater had not provided Elizarov with a notice of acceleration prior to April 1,
 2021. It is denied, however, that Goldwater was required to provide such notice at
 that time under Paragraph 18 of the Deed of Trust. Except as expressly admitted,
 denied.
       78. Prior to April 1, 2021, GOLDWATER had not given ELIZAROV the notice of
 acceleration required under Paragraph 11 of NOTE.




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       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater admits that
 Goldwater had not provided Elizarov with a notice of acceleration prior to April 1,
 2021. It is denied, however, that Goldwater was required to provide such notice at
 that time under Paragraph 11 of the Deed of Trust. Except as expressly admitted,
 denied.
       79. GOLDWATER did not allege a claim for fraud against ELIZAROV in
 GOLDWATER’s original complaint (which GOLDWATER filed in this action as
 Document Number 1) but alleged a claim for fraud against ELIZAROV in
 GOLDWATER’s amended complaint (which GOLDWATER filed in this action as
 Document Number 44) solely to retaliate against ELIZAROV after ELIZAROV filed
 CIVIL ACTION against GOLDWATER and GOLWATER’s counsel.
       ANSWER: Goldwater objects to this Request for Admission as outside the
 scope of Fed. R. Civ. P. 36 because it is not related to the facts, the application of
 law to the facts, opinions about either, or the genuineness of any documents.
 Goldwater further objects to this request as improper because it seeks privileged
 and speculative information about the rationale behind Goldwater’s pleading
 history. Subject to and without waiving its objections, denied.
       80. Except for ELIZAROV’s marital status, at the time GOLDWATER filed
 GOLWATER’s original complaint (which GOLDWATER filed in this action as
 Document Number 1), GOLDWATER had known all the information that served as a
 basis for GOLDWATER’s claim for fraud against ELIZAROV that GOLDWATER
 asserted in GOLDWATER’s amended complaint (which GOLDWATER filed in this
 action as Document Number 44).
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, denied.




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       81. NOTE is a valid and enforceable contract.
       ANSWER: Admitted.
       82. GOLDWATER does not contend that NOTE is unenforceable.
       ANSWER: Admitted.
       83. DEED OF TRUST is a valid and enforceable contract.
       ANSWER: Admitted.
       84. GOLDWATER does not content that DEED OF TRUST is unenforceable.
       ANSWER: Admitted.
       85. GOLDWATER collected the information for LOAN APPLICATION from
 ELIZAROV over the telephone.
       ANSWER:        Admitted that Elizarov provided certain information to
 Goldwater by telephone in connection with the Loan Application.         Except as
 expressly admitted, denied.
       86. GOLDWATER’s employee completed LOAN APPLICATION based on the
 information that ELIZAROV provided to GOLDWATER over the telephone.
       ANSWER: Denied. The loan application was not completed until Elizarov
 had reviewed and signed the application, certifying that its contents were truthful
 and that Goldwater was entitled to rely on its contents.
       87. None of ALEKSEYEFF’s personal information appeared on LOAN
 APPLICATION.
       ANSWER: Goldwater objects to this request as vague because it is unclear
 what information Elizarov considers to be “Alekseyeff’s personal information.”
 Subject to and without waiving its objections, Goldwater admits that the loan
 application does not appear to include information related to Alekseyeff. Except as
 expressly admitted, denied.
       88. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF had no reason to review LOAN APPLICATION because none of
 ALEKSEYEFF’s personal information appeared on LOAN APPLICATION.




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       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound. Goldwater further objects to this request as vague because it is unclear
 what Elizarov considers to be “Alekseyeff’s personal information.” Subject to and
 without waiving its objections, Goldwater lacks knowledge or information sufficient
 to admit or deny this Request for Admission. Goldwater has conducted a reasonable
 inquiry of the materials in its possession, custody, or control, but discoverable
 information relating Alekseyeff’s motivations ultimately resides with Alekseyeff,
 Elizarov, and third parties.
       89. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF had no reason to review LOAN APPLICATION because ALEKSEYEFF
 had no business relationship with GOLDWATER.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound.     Subject to and without waiving its objections, Goldwater lacks
 knowledge or information sufficient to admit or deny this Request for Admission.
 Goldwater has conducted a reasonable inquiry of the materials in its possession,
 custody, or control, but discoverable information relating Alekseyeff’s motivations
 ultimately resides with Alekseyeff, Elizarov, and third parties.
       90. In GOLDWATER’s experience, at the time ELIZAROV submitted LOAN
 APPLICATION to GOLDWATER, it was common for a married person to apply for a
 mortgage loan based solely on the person’s personal information without also including
 the spouse’s personal information.
       ANSWER: Goldwater objects to this Request for Admission as an incomplete
 hypothetical. Goldwater further objects to this request as irrelevant and overbroad,
 as Goldwater’s routine business practices are not at issue in this litigation, and the
 scope of this request is so broad that it cannot fairly be responded to under Rule 36
 of the Federal Rules of Civil Procedure.




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       91. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF was not aware that ELIZAROV had planned to include any false
 statements of fact in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s knowledge ultimately resides with Alekseyeff and Elizarov.
       92. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF was not aware that ELIZAROV had planned to omit from LOAN
 APPLICATION a reference CIVIL ACTION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s knowledge ultimately resides with Alekseyeff and Elizarov.
       93. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF was not aware that ELIZAROV had planned to omit from LOAN
 APPLICATION a reference to ELIZAROV’s outstanding debt to the Internal Revenue
 Service.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s knowledge ultimately resides with Alekseyeff and Elizarov.
       94. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF was not aware that ELIZAROV had planned to report ELIZAROV’s
 marital status as “single.”
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of




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 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s knowledge ultimately resides with Alekseyeff and Elizarov.
       95. At the time ELIZAROV submitted LOAN APPLICATION to GOLDWATER,
 ALEKSEYEFF had not assisted ELIZAROV to complete LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s actions ultimately resides with Alekseyeff and Elizarov.
       96. No WITNESS saw ALEKSEYEFF help ELIZAROV complete any
 information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to any witnesses to Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       97. No WITNESS heard ALEKSEYEFF help ELIZAROV complete any
 information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to any witnesses to Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       98. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 helped ELIZAROV complete any information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       99. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 helped ELIZAROV complete any information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       100. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF
 helped ELIZAROV complete any information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with third parties ultimately resides with
 Elizarov and those third parties.
       101. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF
 helped ELIZAROV complete any information in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with third parties ultimately resides with
 Elizarov and those third parties.
       102. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not read LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of




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 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s actions ultimately resides with Alekseyeff and Elizarov.
       103. No WITNESS saw ALEKSEYEFF read LOAN APPLICATION before
 ELIZAROV submitted LOAN APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to witnesses of Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       104. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had read LOAN APPLICATION before ELIZAROV submitted LOAN APPLICATION
 to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       105. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had read LOAN APPLICATION before ELIZAROV submitted LOAN APPLICATION
 to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       106. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 read LOAN APPLICATION before ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       107. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 read LOAN APPLICATION before ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       108. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not discussed, orally or in writing, the contents of
 LOAN APPLICATION with ELIZAROV.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to communications between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses to those communications.
       109. No WITNESS heard ALEKSEYEFF discuss the content of LOAN
 APPLICATION       with   ELIZAROV          before   ELIZAROV   submitted   LOAN
 APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating to communications between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses to those communications.
       110. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had discussed the contents of LOAN APPLICATION with ELIZAROV before
 ELIZAROV submitted LOAN APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       111. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had discussed the contents of LOAN APPLICATION with ELIZAROV before
 ELIZAROV submitted LOAN APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       112. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 discussed the contents of LOAN APPLICATION with ELIZAROV before ELIZAROV
 submitted LOAN APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.




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       113. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 discussed the contents of LOAN APPLICATION with ELIZAROV before ELIZAROV
 submitted LOAN APPLICATION to GOLDWATER
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       114. Prior to April 1, 2021, ALEKSEYEFF had never orally discussed the contents
 of LOAN APPLICATION with any WITNESS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       115. Prior to April 1, 2021, ALEKSEYEFF had never discussed the contents of
 LOAN APPLICATION with any WITNESS in writing.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       116. Prior to April 1, 2021, ALEKSEYEFF had never verbally discussed the
 contents of LOAN APPLICATION with GOLDWATER.
       ANSWER: Admitted.
       117. Prior to April 1, 2021, ALEKSEYEFF had never discussed the contents of
 LOAN APPLICATION with GOLDWATER in writing.
       ANSWER: Admitted.




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       118. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not orally agreed with ELIZAROV that
 ELIZAROV include any false statements in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff and Elizarov.
       119. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not agreed with ELIZAROV in writing that
 ELIZAROV include any false statements in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff and Elizarov.
       120. No WITNESS was present when ALEKSEYEFF agreed with ELIZAROV, at
 any time before ELIZAROV submitted LOAN APPLICATION to GOLDWATER, that
 ELIZAROV include any false statements in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff and Elizarov, and any witnesses thereto.
       121. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had agreed with ELIZAROV, at any time before ELIZAROV submitted LOAN
 APPLICATION to GOLDWATER, that ELIZAROV include any false statements in
 LOAN APPLICATION.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       122. ALEKSEYEFF has never told any WITNESS in writing that that
 ALEKSEYEFF had agreed with ELIZAROV, at any time before ELIZAROV submitted
 LOAN APPLICATION to GOLDWATER, that ELIZAROV include any false
 statements in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       123. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 agreed with ELIZAROV, at any time before ELIZAROV submitted LOAN
 APPLICATION to GOLDWATER, that ELIZAROV include any false statements in
 LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       124. ELIZAROV has never told any WITNESS in writing that that ALEKSEYEFF
 had agreed with ELIZAROV, at any time before ELIZAROV submitted LOAN
 APPLICATION to GOLDWATER, that ELIZAROV include any false statements in
 LOAN APPLICATION.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       125. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not agreed with ELIZAROV that ELIZAROV fail
 to report, on LOAN APPLICATION, that ELIZAROV was a plaintiff in CIVIL
 ACTION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       126. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not agreed with ELIZAROV that ELIZAROV fail
 to report, in LOAN APPLICATION, that ELIZAROV owed a tax debt to the Internal
 Revenue Service.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Elizarov and Alekseyeff ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       127. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF had not agreed with ELIZAROV that ELIZAROV
 report ELIZAROV’s marital status as “single.”
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of




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 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       128. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF did not intend that ELIZAROV include any false
 statements in LOAN APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s intentions ultimately resides with Alekseyeff, Elizarov, and
 third parties.
       129. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF did not intend that ELIZAROV fail to report, on LOAN
 APPLICATION, that ELIZAROV was a plaintiff in CIVIL ACTION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s intentions ultimately resides with Alekseyeff, Elizarov, and
 third parties.
       130. At the time ELIZAROV submitted LOAN APPLICATION to
 GOLDWATER, ALEKSEYEFF did not intend that ELIZAROV report ELIZAROV’s
 marital status as “single.”
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s intentions ultimately resides with Alekseyeff, Elizarov, and
 third parties.




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       131. GOLDWATER alleged a conspiracy claim against ALEKSEYEFF relating
 to ELIZAROV’S statements in the LOAN APPLICATION based solely on
 ALEKSEYEFF’s status as ELIZAROV’s registered domestic partner in California.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater denies this
 Request for Admission.     Goldwater’s conspiracy claim was based on credible
 evidence of a conspiracy, which was outlined in the Amended Complaint.
       132. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF was not aware that ELIZAROV had planned to include any false
 information on FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s knowledge ultimately resides with Alekseyeff, Elizarov, and
 third parties.
       133. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF had not assisted ELIZAROV to complete FORBEARANCE
 APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s actions ultimately resides with Alekseyeff, Elizarov, and third
 parties.
       134. No WITNESS was present when ALEKSEYEFF assisted ELIZAROV to
 complete FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating Alekseyeff’s actions and any witnesses of such ultimately resides with
 Alekseyeff, Elizarov, and those witnesses.
       135. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 assisted ELIZAROV to complete FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       136. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 assisted ELIZAROV to complete FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       137. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF
 assisted ELIZAROV to complete FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       138. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF
 assisted ELIZAROV to complete FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       139. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF had not read FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s actions ultimately resides with Alekseyeff, Elizarov, and any
 witnesses.
       140. No WITNESS was present when ALEKSEYEFF read FORBEARANCE
 APPLICATION before ELIZAROV submitted FORBEARANCE APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to any witnesses to Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       141. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had   read   FORBEARANCE         APPLICATION        before   ELIZAROV       submitted
 FORBEARANCE APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       142. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had   read   FORBEARANCE         APPLICATION        before   ELIZAROV       submitted
 FORBEARANCE APPLICATION to GOLDWATER.




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        ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
        143. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 read    FORBEARANCE          APPLICATION       before    ELIZAROV       submitted
 FORBEARANCE APPLICATION to GOLDWATER.
        ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
        144. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 read    FORBEARANCE          APPLICATION       before    ELIZAROV       submitted
 FORBEARANCE APPLICATION to GOLDWATER.
        ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
        145. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF had not discussed, orally or in writing, the contents of FORBEARANCE
 APPLICATION with ELIZAROV.
        ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating to Alekseyeff’s communications with Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       146. No WITNESS was present when ALEKSEYEFF discussed, orally or in
 writing, the contents of FORBEARANCE APPLICATION with ELIZAROV before
 ELIZAROV submitted FORBEARANCE APPLICATION to GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to witnesses of Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       147. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had discussed, orally or in writing, the contents of FORBEARANCE APPLICATION
 with ELIZAROV before ELIZAROV submitted FORBEARANCE APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       148. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had discussed, orally or in writing, the contents of FORBEARANCE APPLICATION
 with ELIZAROV before ELIZAROV submitted FORBEARANCE APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.




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       149. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 discussed, orally or in writing, the contents of FORBEARANCE APPLICATION with
 ELIZAROV before ELIZAROV submitted FORBEARANCE APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       150. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 discussed, orally or in writing, the contents of FORBEARANCE APPLICATION with
 ELIZAROV before ELIZAROV submitted FORBEARANCE APPLICATION to
 GOLDWATER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       151. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF had not agreed with ELIZAROV that ELIZAROV include any false
 statement of act in FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       152. No WITNESS was present when ALEKSEYEFF agreed with ELIZAROV,
 before ELIZAROV submitted FORBEARANCE APPLICATION to GOLDWATER,




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 that ELIZAROV include any false statement of fact in FORBEARANCE
 APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to witnesses to agreements between Alekseyeff and Elizarov ultimately
 resides with Alekseyeff, Elizarov, and any witnesses.
       153. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had agreed with ELIZAROV, before ELIZAROV submitted FORBEARANCE
 APPLICATION to GOLDWATER, that ELIZAROV include any false statement of fact
 in FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       154. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had agreed with ELIZAROV, before ELIZAROV submitted FORBEARANCE
 APPLICATION to GOLDWATER, that ELIZAROV include any false statement of fact
 in FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       155. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 agreed   with   ELIZAROV,      before   ELIZAROV        submitted    FORBEARANCE




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 APPLICATION to GOLDWATER, that ELIZAROV include any false statement of fact
 in FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       156. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 agreed   with    ELIZAROV,    before   ELIZAROV        submitted    FORBEARANCE
 APPLICATION to GOLDWATER, that ELIZAROV include any false statement of fact
 in FORBEARANCE APPLICATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       157. At the time ELIZAROV submitted FORBEARANCE APPLICATION,
 ALEKSEYEFF had not intended that ELIZAROV include any false statement of fact in
 FORBEARANCE INFORMATION.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s intentions ultimately resides with Alekseyeff, Elizarov, and
 third parties.
       158.   None   of   ALEKSEYEFF’s       personal    information     appeared    on
 FORBEARANCE APPLICATION.
       ANSWER: Goldwater objects to this request as vague because it is unclear
 what information Elizarov considers to be “Alekseyeff’s personal information.”




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 Subject to and without waiving its objections, Goldwater states that the forbearance
 application appears to contain information related to Elizarov. Except as expressly
 admitted, denied.
       159. ALEKSEYEFF had no reason to review FORBEARANCE APPLICATION
 before ELIZAROV submitted FORBEARANCE APPLICATION to GOLDWATER
 because none of ALEKSEYEFF’s information appeared on FORBEARANCE
 APPLICATION.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound.     Subject to and without waiving its objections, Goldwater lacks
 knowledge or information sufficient to admit or deny this Request for Admission.
 Goldwater has conducted a reasonable inquiry of the materials in its possession,
 custody, or control, but discoverable information relating Alekseyeff’s motivations
 ultimately resides with Alekseyeff, Elizarov, and third parties.
       160. ALEKSEYEFF had no reason to review FORBEARANCE APPLICATION
 before ELIZAROV submitted FORBEARANCE APPLICATION to GOLDWATER
 because none of ALEKSEYEFF had no business relationship with GOLDWATER.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound.     Subject to and without waiving its objections, Goldwater lacks
 knowledge or information sufficient to admit or deny this Request for Admission.
 Goldwater has conducted a reasonable inquiry of the materials in its possession,
 custody, or control, but discoverable information relating Alekseyeff’s motivations
 ultimately resides with Alekseyeff, Elizarov, and third parties.
       161. Prior to April 1, 2021, ALEKSEYEFF had not verbally discussed
 ELIZAROV’s statements in FORBEARANCE APPLICATION with any WITNESS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       162. Prior to April 1, 2021, ALEKSEYEFF had not discussed in writing
 ELIZAROV’s statements in FORBEARANCE APPLICATION with any WITNESS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       163. Prior to April 1, 2021, ALEKSEYEFF had not verbally discussed
 ELIZAROV’s statements in FORBEARANCE APPLICATION with GOLDWATER.
       ANSWER:        Denied.     On occasion, Alekseyeff discussed Elizarov’s
 forbearance status with Goldwater, which necessarily includes the information
 contained in his forbearance application, with Goldwater employees.
       164. Prior to April 1, 2021, ALEKSEYEFF had not discussed in writing
 ELIZAROV’s statements in FORBEARANCE APPLICATION with GOLDWATER.
       ANSWER:        Denied.     On occasion, Alekseyeff discussed Elizarov’s
 forbearance status with Goldwater, which necessarily includes the information
 contained in his forbearance application, with Goldwater employees.
       165. GOLDWATER alleged a conspiracy claim against ALEKSEYEFF relating
 to ELIZAROV’S statements in the FORBEARANCE APPLICATION based solely on
 ALEKSEYEFF’s status as ELIZAROV’s registered domestic partner in California.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater denies this
 Request for Admission.     Goldwater’s conspiracy claim was based on credible
 evidence of a conspiracy, which was outlined in the Amended Complaint.
       166.   ALEKSEYEFF        did   not   directly   participate   in   SETTLEMENT
 NEGOTIATIONS.




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       ANSWER: Goldwater objects to this Request for Admission to the extent that
 the word “participate” is vague. It is admitted that Alekseyeff did not communicate
 with Goldwater’s employees in the conversations between Goldwater and Elizarov
 in the last weeks of March 2021. Except as expressly admitted, denied.
       167. No WITNESS was present when ALEKSEYEFF directly participated in
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to witnesses of Alekseyeff’s actions ultimately resides with Alekseyeff,
 Elizarov, and any witnesses.
       168. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 directly participated in SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       169. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 directly participated in SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       170. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF
 directly participated in SETTLEMENT NEGOTIATIONS.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       171. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF
 directly participated in SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and any witnesses.
       172. ALEKSEYEFF has never said anything to GOLDWATER, orally or in
 writing, concerning ELIZAROV’s financial ability to pay GOLDWATER the
 outstanding loan balance due under the NOTE from the proceeds of the sale of PALM
 SPRINGS HOUSE.
       ANSWER: Denied. As defined in Elizarov’s Requests for Admission, the
 term “Goldwater” could be construed to include Goldwater’s counsel, and
 Alekseyeff has communicated with Goldwater’s counsel regarding Elizarov’s
 financial ability to satisfy the outstanding balance due under the Note.
       173. Prior to April 1, 2021, ALEKSEYEFF was not aware that ELIZAROV had
 planned to make false statements of fact to GOLDWATER during SETTLEMENT
 NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s knowledge ultimately resides with Alekseyeff, Elizarov, and
 third parties.




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       174. Prior to April 1, 2021, ALEKSEYEFF had not discussed with ELIZAROV,
 orally or in writing, any statements that ELIZAROV made to GOLDWATER
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating to Alekseyeff’s communications with Elizarov ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       175. No WITNESS was present when ALEKSEYEFF discussed with ELIZAROV,
 prior to April 1, 2021, any statements that ELIZAROV made to GOLDWATER during
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding any witnesses to Alekseyeff’s communications with Elizarov ultimately
 resides with Alekseyeff, Elizarov, and third parties.
       176. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had discussed with ELIZAROV, prior to April 1, 2021, any statements that ELIZAROV
 made to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       177. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had discussed with ELIZAROV, prior to April 1, 2021, any statements that ELIZAROV
 made to GOLDWATER during SETTLEMENT NEGOTIATIONS.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       178. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 discussed with ELIZAROV, prior to April 1, 2021, any statements that ELIZAROV made
 to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       179. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 discussed with ELIZAROV, prior to April 1, 2021, any statements that ELIZAROV made
 to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       180. Prior to April 1, 2021, ALEKSEYEFF had not verbally discussed with any
 WITNESS any statements that ELIZAROV made to GOLDWATER during
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       181. Prior to April 1, 2021, ALEKSEYEFF had not discussed in writing with any
 WITNESS any statements that ELIZAROV made to GOLDWATER during
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       182. Prior to April 1, 2021, ALEKSEYEFF had not verbally discussed with
 GOLDWATER any statements that ELIZAROV made to GOLDWATER during
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Admitted.
       183. Prior to April 1, 2021, ALEKSEYEFF had not discussed in writing with
 GOLDWATER any statements that ELIZAROV made to GOLDWATER during
 SETTLEMENT NEGOTIATIONS.
       ANSWER: Admitted.
       184. Prior to April 1, 2021, ALEKSEYEFF had not agreed with ELIZAROV that
 ELIZAROV make any false statements of fact to GOLDWATER during SETTLEMENT
 NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding agreements between Alekseyeff and Elizarov ultimately resides with
 Alekseyeff, Elizarov, and third parties.




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       185. No WITNESS was present when ALEKSEYEFF agreed with ELIZAROV,
 prior to April 1, 2021, that ELIZAROV make any false statements of fact to
 GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding witnesses to any agreements between Alekseyeff and Elizarov ultimately
 resides with Alekseyeff, Elizarov, and third parties.
       186. ALEKSEYEFF has never verbally told any WITNESS that ALEKSEYEFF
 had agreed with ELIZAROV, prior to April 1, 2021, that ELIZAROV make any false
 statements of fact to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       187. ALEKSEYEFF has never told any WITNESS in writing that ALEKSEYEFF
 had agreed with ELIZAROV, prior to April 1, 2021, that ELIZAROV make any false
 statements of fact to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       188. ELIZAROV has never verbally told any WITNESS that ALEKSEYEFF had
 agreed with ELIZAROV, prior to April 1, 2021, that ELIZAROV make any false
 statements of fact to GOLDWATER during SETTLEMENT NEGOTIATIONS.




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       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       189. ELIZAROV has never told any WITNESS in writing that ALEKSEYEFF had
 agreed with ELIZAROV, prior to April 1, 2021, that ELIZAROV make any false
 statements of fact to GOLDWATER during SETTLEMENT NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s communications with witnesses ultimately resides with
 Alekseyeff, Elizarov, and third parties.
       190. Prior to April 1, 2021, ALEKSEYEFF did not intend that ELIZAROV make
 any   false      statements   of   fact   to   GOLDWATER   during   SETTLEMENT
 NEGOTIATIONS.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Alekseyeff’s intentions ultimately resides with Alekseyeff, Elizarov, and
 third parties.
       191. ELIZAROV made statements to GOLDWATER during SETTLEMENT
 NEGOTIATIONS because ELIZAROV wanted to pay GOLDWATER less than the
 outstanding principal balance under THE LOAN and not because ELIZAROV wanted to
 prevent GOLDWATER from interfering with the sale of PALM SPRINGS HOUSE to
 Scott Howlett.
       ANSWER: Goldwater objects to this Request for Admission as impermissibly
 compound.        Subject to and without waiving its objections, Goldwater lacks




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 knowledge or information sufficient to admit or deny this Request for Admission.
 Goldwater has conducted a reasonable inquiry of the materials in its possession,
 custody, or control, but discoverable information relating Elizarov’s intentions
 ultimately resides with Alekseyeff, Elizarov, and third parties.
       192. GOLDWATER alleged a conspiracy claim against ALEKSEYEFF relating
 to   ELIZAROV’S        statements   to   GOLDWATER          during    SETTLEMENT
 NEGOTIATIONS based solely on ALEKSEYEFF’s status as ELIZAROV’s registered
 domestic partner in California
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound. Subject to and without waiving its objections, Goldwater denies this
 Request for Admission.      Goldwater’s conspiracy claim was based on credible
 evidence of a conspiracy, which was outlined in the Amended Complaint.
       193. Had ELIZAROV paid GOLDWATER $675,000.00 from the sale of PALM
 SPRINGS HOUSE to Scott Howlett, ELIZAROV would have had sufficient remaining
 proceeds to pay PRIOR DEBT in full.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound and as an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny this
 Request for Admission. Subject to and without waiving its objections, Goldwater
 admits that Elizarov received $785,741.36 in proceeds from the sale of the Palm
 Springs house, which would have been sufficient to pay off the full balance of the
 Goldwater loan. Except as expressly admitted, denied.
       194. Had ELIZAROV paid GOLDWATER the outstanding balance under NOTE
 from the sale of PALM SPRINGS HOUSE to Scott Howlett, ELIZAROV would have
 had independent funds to pay PRIOR DEBT in full.
       ANSWER: Goldwater objects to this Request for Admission as improperly
 compound and as an incomplete hypothetical that does not state enough facts for
 Goldwater to make a reasonable inquiry sufficient to enable it to admit or deny this




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 request. Subject to and without waiving its objections, admits that Elizarov received
 $785,741.36 in proceeds from the sale of the Palm Springs house, which would have
 been sufficient to pay off the full balance of the Goldwater loan. Goldwater states
 that it lacks knowledge or information sufficient to admit or deny the portion of this
 request related to Elizarov’s independent funds.       Goldwater has conducted a
 reasonable inquiry of the materials in its possession, custody, or control, but
 discoverable information regarding Elizarov’s finances ultimately resides with
 Elizarov and third parties.
         195. ELIZAROV paid PRIOR DEBT because PRIOR DEBT matured in December
 2020.
         ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 relating Elizarov’s motivations ultimately resides with Elizarov, Alekseyeff, and
 third parties.
         196. ELIZAROV paid PRIOR DEBT without actual intent to hinder
 GOLDWATER.
         ANSWER:     Denied.   Evidence of Elizarov’s intent to hinder Goldwater
 include the fact that the payment was made for the benefit of an insider, namely
 Alekseyeff. At the time of the payment, this litigation had already commenced. At
 the time of the payment, Elizarov had absconded and removed assets by purchasing
 a house for $630,000 cash in Florida using the proceeds from the sale of the Palm
 Springs House.
         197. ELIZAROV paid PRIOR DEBT without actual intent to delay
 GOLDWATER.
         ANSWER:     Denied.   Evidence of Elizarov’s intent to hinder Goldwater
 include the fact that the payment was made for the benefit of an insider, namely
 Alekseyeff. At the time of the payment, this litigation had already commenced. At




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 the time of the payment, Elizarov had absconded and removed assets by purchasing
 a house for $630,000 cash in Florida using the proceeds from the sale of the Palm
 Springs House.
       198. ELIZAROV paid PRIOR DEBT without actual intent to defraud
 GOLDWATER.
       ANSWER:       Denied.   Evidence of Elizarov’s intent to hinder Goldwater
 include the fact that the payment was made for the benefit of an insider, namely
 Alekseyeff. At the time of the payment, this litigation had already commenced. At
 the time of the payment, Elizarov had absconded and removed assets by purchasing
 a house for $630,000 cash in Florida using the proceeds from the sale of the Palm
 Springs House.
       199. ELIZAROV has no personal relationship with PRIOR LENDER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s relationship with the prior lender ultimately resides with
 Elizarov and the prior lender.
       200. ALEKSEYEFF has no personal relationship with PRIOR LENDER.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Alekseyeff’s relationship with the prior lender ultimately resides with
 Alekseyeff and the prior lender.
       201. ALEKSEYEFF’s relationship with PRIOR LENDER was that of lender-
 borrower and nothing else.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information




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 regarding Alekseyeff’s relationship with the prior lender ultimately resides with
 Alekseyeff and the prior lender.
       202. ELIZAROV retained no control over the funds used to pay PRIOR DEBT.
       ANSWER: Goldwater objects to this request as vague because it is not
 apparent if the request is discussing Elizarov’s control of the funds prior to paying
 the debt or after. Subject to and without waiving its objections, Goldwater admits
 that Elizarov had control over the funds used to pay the Prior Debt up until the time
 when the Prior Debt was paid. Goldwater admits that Elizarov did not retain
 control over the funds after the payment was made. Except as expressly admitted,
 denied.
       203. ALEKSEYEFF retained no control over the funds used to pay PRIOR DEBT.
       ANSWER: Goldwater objects to this request as vague because it is not
 apparent if the request is discussing Elizarov’s control of the funds prior to paying
 the debt or after. Subject to and without waiving its objections, Goldwater admits
 that Alekseyeff had control over the funds used to pay the Prior Debt up until the
 time when the Prior Debt was paid. Goldwater admits that Alekseyeff did not retain
 control over the funds after the payment was made. Except as expressly admitted,
 denied.
       204. The payment of PRIOR DEBT did not transfer substantially all of
 ELIZAROV’s assets.
       ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny the portion of this request related to Elizarov’s independent funds. Goldwater
 has conducted a reasonable inquiry of the materials in its possession, custody, or
 control, but discoverable information regarding Elizarov’s finances ultimately
 resides with Elizarov and third parties.
       205. ALEKSEYEFF received reasonably equivalent value for the funds used to
 pay PRIOR DEBT.




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       ANSWER: Goldwater objects to this request to the extent it suggests that
 Alekseyeff is the relevant individual for purposes of determining whether the
 payment of the Prior Debt was for reasonably equivalent value. Subject to and
 without waiving its objections, Goldwater admits that Alekseyeff received the value
 of the $84,843.22, since Elizarov’s payment of those funds satisfied a debt in the
 equivalent amount for the benefit of Alekseyeff.
       206. ELIZAROV received reasonably equivalent value for the funds used to pay
 PRIOR DEBT.
       ANSWER: Denied.
       207. GOLDWATER does not contend that ELIZAROV paid PRIOR DEBT
 without receiving a reasonably equivalent value in exchange for the payment under
 California Civil Code section 3439.04, subdivision (a)(2).
       ANSWER:       Denied.      Goldwater contends that Elizarov did not receive
 reasonably equivalent value because Elizarov was not liable for the debt, which
 belonged to Alekseyeff.
       208. GOLDWATER does not contend that ELIZAROV paid PRIOR DEBT
 without receiving a reasonably equivalent value in exchange for the payment under
 California Civil Code section 3439.05.
       ANSWER:       Denied.      Goldwater contends that Elizarov did not receive
 reasonably equivalent value because Elizarov was not liable for the debt, which
 belonged to Alekseyeff.
       209. ELIZAROV did not participate in the transaction that resulted in the sale of
 PALM SPRINGS HOUSE to Scott Howlett in ELIZAROV’s capacity as a licensed
 California Real Estate Broker.
       ANSWER: Goldwater objects to this request as vague because it is unclear
 what conduct amounts to “participation.” Goldwater admits that Elizarov was not
 identified as a realtor on the transaction when the sale of the Palm Springs House
 to Howlett occurred.       Goldwater denies that Elizarov had no involvement




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 whatsoever in his capacity as a broker, based on documents showing that Elizarov
 at one point appeared on marketing materials for the property. Except as expressly
 admitted, denied.
          210. At the time ELIZAROV paid PRIOR DEBT, ELIZAROV did not know that
 GOLDWATER had applied to the United States District Court for a temporary restraining
 order designed to freeze the proceeds from the sale of PALM SPRINGS HOUSE to Scott
 Howlett.
          ANSWER: Goldwater lacks knowledge or information sufficient to admit or
 deny this Request for Admission. Goldwater has conducted a reasonable inquiry of
 the materials in its possession, custody, or control, but discoverable information
 regarding Elizarov’s knowledge of the this litigation relationship with the prior
 lender ultimately resides with Alekseyeff and Elizarov.
          211. GOLDWATER presented NOTE to ELIZAROV on a take-it-or-leave- it
 basis.
          ANSWER: Goldwater objects to the use of the phrase “take-it-or-leave-it” as
 vague. Elizarov was not forced to obtain a mortgage from Goldwater, and Elizarov
 received substantial benefit in the form of a mortgage loan that enabled him to
 purchase the Palm Springs house. Subject to and without waiving its objections,
 Goldwater admits that the Note was a standard document that, apart from the
 information specific to Elizarov’s loan, was not drafted by Elizarov. Except as
 expressly admitted, denied.
          212. GOLDWATER drafted all the terms in NOTE.
          ANSWER: It is admitted that the Note was a standard document that, apart
 from the information specific to Elizarov’s loan, was not drafted by Elizarov.
 Except as expressly admitted, denied.
          213. ELIZAROV did not contribute any terms to NOTE.
          ANSWER: Goldwater objects to the word “contributed” as vague, because
 the Note did contain terms specific to Elizarov’s loan. Subject to and without




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 waiving its objections, Goldwater admits that the Note was a standard document
 that, apart from the information specific to Elizarov’s loan, was not drafted by
 Elizarov. Except as expressly admitted, denied.
        214. GOLDWATER presented DEED OF TRUST to ELIZAROV on a take-it-or-
 leave-it basis.
        ANSWER: Goldwater objects to the use of the phrase “take-it-or-leave-it” as
 vague. Elizarov was not forced to obtain a mortgage from Goldwater, and Elizarov
 received substantial benefit in the form of a mortgage loan that enabled him to
 purchase the Palm Springs house. Subject to and without waiving its objections,
 Goldwater admits that the Deed of Trust was a standard document that, apart from
 the information specific to Elizarov’s loan, was not drafted by Elizarov. Except as
 expressly admitted, denied.
        215. GOLDWATER drafted all the terms in DEED OF TRUST.
        ANSWER: It is admitted that the Deed of Trust was a standard document
 that, apart from the information specific to Elizarov’s loan, was not drafted by
 Elizarov. Except as expressly admitted, denied.
        216. ELIZAROV did not contribute any terms to DEED OF TRUST.
        ANSWER: Goldwater objects to the word “contributed” as vague, because
 the Deed of Trust did contain terms specific to Elizarov’s loan. Subject to and
 without waiving its objections, Goldwater admits that the Deed of Trust was a
 standard document that, apart from the loan terms specific to Elizarov’s loan, was
 not drafted by Elizarov. Except as expressly admitted, denied.




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 Dated: April 22, 2022.

                                   WAGNER HICKS PLLC
                                   By: /s/ Derek M. Bast
                                       Sean C. Wagner, Esq.
                                       Derek M. Bast, Esq.

                                         And

                                    HILBERT & SATTERLY LLP
                                    By: /s/ Joseph A. Levota____________
                                           John Forest Hilbert, Esq.
                                           Joseph A. LeVota, Esq.



                                   ATTORNEYS FOR GOLDWATER BANK, N.A.




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                            CERTIFICATE OF SERVICE
       I hereby certify that I have this day served a copy of the foregoing by email and
 by United States Postal Service, addressed to the following person(s) at the following
 address(es):

 Ilya Alekseyeff, Esq.
 Loia, Inc. (APLC)
 8721 Santa Monic Blvd., #119
 West Hollywood, CA 90096
 (213) 537-4592
 Ilya@loia.legal
 Attorney for Defendant Artur Elizarov and Defendant pro per

 Howard D. Hall
 Damian P. Richard
 Hall Griffin, LLP
 1851 East First Street, 10th Floor
 Santa Ana, CA 92705-4052
 hdhall@hallgriffin.com
 drichard@hallgriffin.com
 (714) 918-7000; Fax: (714) 918-6996
 Attorneys for Defendant Scott Howlett and Bank of the West

 Denis Shmidt
 Nabil Bisharat
 Orsus Gate, LLP
 16 N Marengo Ave, Suite 316
 Pasadena, CA 91101
 (213) 973-2052
 dshmidt@orsusgate.com
 nbisrahat@orsusgate.cm
 Attorneys for Defendant Unison Agreement Corp.


       Date: April 22, 2022
                                              /s/ Derek M. Bast
                                              Derek M. Bast




                                                                     Exhibit Z - 63
